                          EXHIBIT 6
Document Type                                               Page

A. Certificate of True Copy                                 1
B. Portal Docket                                            2
C. Legacy Case Scan – May 12, 2023                          5
D. Dismissal                                                11
E. Legacy Case Scan – August 31, 2023                       13




 Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 1 of 27
                               0001

Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 2 of 27
                                                      Wake District Court

                                                       Case Summary
                                                 Case No. 22CR281491-910


STATE OF NORTH CAROLINA VS Kevin James Spruill                  §                        Location: Wake District Court
                                                                §                        Filed on: 08/29/2022
                                                                §       Criminal Process Number: WFA-XX-XXXXXXX
                                                                §          ACIS File Number Key: 9102022281491D
                                                                §    Electronic Warrants Warrant diLUzgLabf6jqbLRrjpN78
                                                                                               ID:



                                                      Case Information

                                                               Offense                    Case Type: Criminal
Offense                                     Statute Degree                  Filed Date
                                                               Date                      Case Status: 08/24/2023 Disposed
01. OBTAIN PROPERTY FALSE                   14-100    FH       06/27/2022   08/29/2022
    PRETENSE
     Offense Reports
        Control #: 22-001335
        Agency: Morrisville Police Department
                  260 Town Hall Drive No C
                  Morrisville, NC, 27560

Related Cases



                                                 Assignment Information

             Current Case Assignment
             Case Number 22CR281491-910
             Court         Wake District Court
             Date Assigned 08/29/2022



                                                      Party Information

Defendant        Spruill, Kevin James                O'NEIL, MOLLY ANN
                  138 WESTOVER HILLS D               Retained
                  CARY, NC 27513-2951
                  Black
                  Male
                  Height: 5′ 9″
State            STATE OF NORTH CAROLINA Matthews, Rachel S.
                  Other                  Retained

Complainant Lynch, Verdena
             260 TOWN HALL DRIVE
             NO C
             MORRISVILLE, NC 27560



                                                        Case Events

08/31/2023                                                                                                    Index # 5
               Legacy Complete Case Scan
                 Created: 08/31/2023 3:51 PM

                                                           PAGE 1 OF 3                          Printed on 04/04/2024 at 4:31 PM

                                                              0002

             Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 3 of 27
                                                      Wake District Court

                                                       Case Summary
                                                    Case No. 22CR281491-910
08/24/2023                                                                                                      Index # 4
              Voluntary Dismissal (Judicial Officer: HAUTER, RASHAD AHMED)
                Created: 08/24/2023 9:37 AM
05/12/2023                                                                                                      Index # 3
              Legacy Complete Case Scan
                Created: 05/12/2023 11:14 AM
03/08/2023    Warrant for Arrest Returned Served                                                                Index # 2
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: WFA-XX-XXXXXXX
                Created: 03/08/2023 10:29 AM
02/15/2023
              Counsel Appointed - Public Defender
                Created: 02/15/2023 12:32 PM
08/29/2022    Warrant For Arrest Issued                                                                         Index # 1
                Location: WAKE COUNTY COURTHOUSE
                Crim Proc #: WFA-XX-XXXXXXX
                Created: 08/29/2022 1:39 PM
08/29/2022    Warrant For Arrest Issued
                CRRPRC:W
                Created: 08/29/2022 12:00 AM



                                                        Dispositions

08/24/2023 Disposition (Judicial Officer: HAUTER, RASHAD AHMED)
            01. OBTAIN PROPERTY FALSE PRETENSE
               VD-District Dismissals w/o Leave by DA - No Plea Agreement
           Created: 08/24/2023 9:38 AM



                                                          Hearings

08/24/2023 Disposition Hearing (9:00 AM) (Judicial Officer: HAUTER, RASHAD AHMED)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             MINUTES - 08/24/2023
                                                                                                  Index # 4
                                 Voluntary Dismissal   (Judicial Officer: HAUTER, RASHAD AHMED)
                                   Created: 08/24/2023 9:37 AM
                Disposition (Judicial Officer: HAUTER, RASHAD AHMED)
                  01. OBTAIN PROPERTY FALSE PRETENSE
                     VD-District Dismissals w/o Leave by DA - No Plea Agreement
                Created: 08/24/2023 9:38 AM
                Resolved;
                   Resolved
              Created: 07/13/2023 3:26 PM
07/13/2023    Disposition Hearing (9:00 AM) (Judicial Officer: Sasser, Debra S)
                Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                MINUTES - 07/13/2023
                Disposition Hearing (08/24/2023 at 9:00 AM) (Judicial Officer: HAUTER, RASHAD AHMED)
                   Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                      Resolved
                Created: 07/13/2023 3:26 PM
                Continued;
                   Continued
              Created: 06/01/2023 11:56 AM
06/01/2023 Disposition Hearing (9:00 AM) (Judicial Officer: Chasse, Eric C)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                                                          PAGE 2 OF 3                             Printed on 04/04/2024 at 4:31 PM

                                                             0003

             Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 4 of 27
                                                  Wake District Court

                                                  Case Summary
                                               Case No. 22CR281491-910
              MINUTES - 06/01/2023
              Disposition Hearing (07/13/2023 at 9:00 AM) (Judicial Officer: Sasser, Debra S)
                 Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                    Continued
              Created: 06/01/2023 11:56 AM
              Continued;
                 Continued
            Created: 04/20/2023 11:29 AM
04/20/2023 Disposition Hearing (9:00 AM) (Judicial Officer: HAUTER, RASHAD AHMED)
             Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
             03/08/2023 Continued to 04/20/2023 - Continued by the Court - STATE OF NORTH CAROLINA; Spruill, Kevin
             James
             MINUTES - 04/20/2023
             Disposition Hearing (06/01/2023 at 9:00 AM) (Judicial Officer: Chasse, Eric C)
                Resource: Location 910-0301 Wake Co. Justice Center, Courtroom 301
                   Continued
             Created: 04/20/2023 11:29 AM
             Continued;
                Continued
           Created: 02/15/2023 12:54 PM




                                                      PAGE 3 OF 3                               Printed on 04/04/2024 at 4:31 PM

                                                         0004

           Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 5 of 27
 [rial Date                             1440
   3      /122




 Zalled and Failed

 JFA/WFA                  Stricken

  0-Day FTA               40-Day FTC
 'orfeiture               Stricken
 Naived


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  117

23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page
   File No.                                                                Law Enforcement Case No.                              LID No.           SID Na                FBI No.
                                                                                                            22-001335
                           22CR281491-910
                                                                           MORRISVILLE POLICE DEPARTMENT
             WARRANT FOR ARREST
       THE STATE OF NORTH CAROLINA VS.
Name And Address Of Defendant
Kevin James Spruill                                                         STATE OF NORTH CAROLINA                                          In The General Court Of Justice
138 Westover Hills Dr                                                                                                                              District Court Division
                                                                                                WAKE
                                                                                                                            County
             Cary                                NC      27513-2951
       Wake CO                                                                                                      OFFENSE(S) (see AOC-CR-100 Continuation(s) for charging text)
                                                                                                                                 Offense                                              Offense in Violation        Offense
                                                                                                                                                                                            Of G.S.                Code
Race                Sex            *Déte Of Birth          Age
                                                                  34
                                                                               1
                                                                                          OBTAIN PROPERTY FALSE PRETENSE                                                                      14-100                2632
Social Sec                                  License No. & State


Name Of Defendant's Employer


Date Of Offense
                                          Offense Which Requires
    6/27/2022                        nting Per Fingerprint Plan
Date Of Arrest & Check Digit No. (asshown on fingerprint card)


Complainant (name, address or de    ment)
R. Lynch
MORRISVILLE POLICE
260 Town Hall Drive No G
         MORRISVILLE                        NC           27560
          WAKE
Names & Addresses Of Witnesses (including counties & telephone nas.)




 TO ANY OFFICER WITH AUTHORITY AND JURISDICTION TO EXECUTE A WARRANT FOR ARREST FOR THE OFFENSE(S) CHARGED IN THIS WARRANT:
 I, the undersigned, find that there is probable cause to believe that on or about the date of offense shown and in the county named above the defendant named above
 unlawfully, willfully, and feloniously did commit the offense(s) set forth above and on the attached AOC-CR-100 Continuation(s), which is (are) incorporated by reference.
 This act(s) was in violation of the law referred to in this Warrant For Arrest. This Warrant For Arrest is issued upon information furnished under oath by the complainant
 listed. You are DIRECTED to arrest the defendant and bring the defendant before a judicial official without unnecessary delay to answer the charge(s) above.

Date issued           Name Of Issuing Official                                     Signature                                                  x Magistrate        Deputy CSC        Assistant CSC      Clerk Of Superior Court
                      Christopher Graves
                                                                                                                                                                     _




    8/29/2022                                                                                                                                   district Ceurt Judge      Superior Court Judge
Location Of Court                                                                                            Court Date                                               Court Time


                                                                                    WAIVER OF PROBABLE CAUSE HEARING                                     ;
 The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
Date Waived           Signature Of Defendant                           !                       Name Of Attorney                                                       Signature Of Attorney

                                                                   1




                                                                                                                  (Over)
  AOC-CR-100, Rev. 2/21, © 2021 Administrative Office of the Courts                                                                                                                      VRA
                                                                                                           Cour
                                                                                                           0006

                                         Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 7 of 27
                                                                                                                                     File No
                       STATE VERSUS                                                WAKE
                                                                                                           County                                     22CR281491-910
Name Of Defendant
Kevin James Spruill
Date Of Issuance Of Warrant For Arrest
                                                              NOTE: Use this page to set farth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5).
                                  8/29/2022
                                                                            OFFENSES (continued)
   Count 1.        offense: OBTAIN            PROPERTY FALSE PRETENSE
Chargingng Txt xtFor This Count
 On or about the date of offense shown and in the county named above the defendant unlawfully, willfully, and feloniously did knowingly and designedly, with the intent to cheat and
 defraud, obtain US currency in the amount of$105.92 from Danella Smith by means of a false pretense which was calculated to deceive and did deceive. The false pretense
 consisted of the following: used victim's bank account information to purchase items without permission .




   Count 2.        Offense:
Charging Text For This Count




  AOC-CR-100 Continuation, Rev. 2/21
  © 2021 Administrative Office of the Courts                                                                        Continuation Page            of       Continuation Pages
                                                                                   Court
                                                                                    0007

                                          Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 8 of 27
                                                                                                                                                          File No.
                     STATE VERSUS                                         :

                                                                                                 WAKE                          County                                      22CR281491-910
Name Of Defendant
Kevin James Spruill                                                           If the Warrant For Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of
Date Of issuance Of Warrant For Arrest                                        Court in the county in which it was issued with the reason for the failure of service noted thereon.
                                  8/29/2022                                                                                                     i




                                                                                             RETURN OF SERVICE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served   :                                 Time Served                                             Date Retumed



        By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



 L_] The Warrant WAS NOT served for the following reason:                                                                                       :




Signature Of Officer Making Return                                                                            Name Of Officer (type or print)


Department Or Agency Of Officer


                                                                                          REDELIVERY/REISSUANCE
Date                    Name Of Clerk (type or print)                                    Signature Of Clerk
                                                                                                                                                    [Deputy csc [_]Assistant csc   O Clerk Of Superior Court
                                                                      a       RETURN FOLLOWING REDELIVERY/REISSUANCE
 |
     certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
Date Received                                           Date Served                                      Time Served                                             Date Returned



 o By arresting the defendant and bringing the defendant before:
Name Of Judicial Official



 o The Warrant WAS NOT served for the following reason:

Signature Of Officer Making Return                                                                            Name Of Officer (type or print)


Department Or Agency Of Officer




     AOC-CR-100 Return, Rev. 2/21
     © 2021 Administrative Office of the Courts
                                                                                                      0008
                                                                                                       oun
                                          Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 9 of 27
 (TYPE OR PRINT IN BLACK INK)                                In The General Court Of Justice
                                                        [X] District     [] Superior Court Division
                                                                                                                   File No


                                                                                                              Additional File Nos.
                                                                                                                                             aga l
 STATE OF NORTH CAROLINA
                        WAKE
                                                      County
Name Of Applicant


Street Number And Street Name, including Apartment Or Unit Number If Applicable
                                                                                                            AFFIDAVIT OF INDIGENCY
 36 Wester hits dre                                                                                                                                     G.S. 7A-450 et seq
                                                                                       Offense(s)
                                                                                       See Table Of Charges on Side Two
City, State AndZip Code
                                                                                       Applicant:: Do you have other pending crimingCharge(s) in which a
Full Permanent Mailing Address oO Applicant (if different than above)                  lawyer has been appointed?       Yes        O o
                                                                                       Name Of Lawyer




                                             Date Of Birth

                                             120/9F                                                                f    App   cant

   Defendant             Parent/Guardian/Trustee       O                                                                                            Has No Social Security No.

              MONTHLY INCOME (money you make)                                                       MONTHLY EXPENSES (money you pay out)
 Employment Applicant
                  -
                                                               $                       Number Of Dependents                                  6
 Name And Address Of Applicant's Employer
 (If not employed, state reason; if self-employed, State trade)                        Shelter.           Buying       [Renting          $   \273.50
   Trtle Boxing Club                                                    tine)          Food (including Food Stamps)                      $
                                                                                                                                                 266
    LOUG Venaissante Park Place                                                        Utilities (power, water, heating,                 $
                                                                                                    phone, cable, etc. }
     Cary WO 0751
                                                                                       Health Care                                       $
 Other Income
                      US
                         fare, Food Stamps,
                       S, Pensions, etc.)                      BIN                     In     llment Payments
                                                                                                                                         §
                                                                                                                                             U3 dd
 Employment Spouse
                 -

                                                               $0                           Vehicle     Other

 Name And Address Of Spouse's Employer                                                 Car Expenses (gas, insurance, etc.)
                                                                                                                                         $221.716
                                                                                       Support Payments                                  $

                                                                                       Other: (specify)

                                                                                                                                                 OVO
Total Monthly Income                                         bs
                                                                   ©
                                                                        0 q4           Total Monthly Expenses
                                                                                                        ASSETSown
                                                                                                                                         $2624     TS
                                                                                                                                           LIABILITIES
          DESCRIPTION OF ASSETS AND LIABILITIES                                                     (things you                                  amounts you owe
                                                                                                                                                                   rn

 Cash On Hand And In Bank Accounts (List Name Of Bank & Account No.)
                                                                                            $


 Money Owed To Or Held For Applicant                                                        $
 Motor Vehicles (List Make, Model, Year)                                                             (Fair Market Value)                           (Balance Due)
                                                                                            $                                            $

                                                                                                     (Fair Market Value)                           (Balance Due)
 Real Estate                                                                                $                                            $

                                                                                                     (Fair Market Value)                           (Balance Due)
 Personal Property                                                                          $                                            $

 Other Debts                                                                                                                             $

 Last Income Tax Filed 20                                    Refund       Owe               $                                            $

 Other                                                                                      $                                            $

 Total Assets And Liabilities
Bond Type                                    Amount
                                                                                            $
                                                                                       By Whom Posted
                                                                                                     ©                                   $


                                             $
                                                 NOTE: Read the notice on the reverse side before completing this form
                                                                                  (Over)
  AOC-CR-226, Rev..2121.© 2021 Administrative Office of the Courts

                                                                                0009

              Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 10 of 27
                                                                           TABLE OF CHARGES
 The applicant has the following charge(s) pending for trial in this court:
                   File No.(s)                                                                          Offense(s)




                            NOTICE TO PERSONS REQUESTING A COURT-APPOINTED LAWYER
 1 .    When answering the questions on the Affidavit Of Indigency (reverse side of this form), please do not discuss your case with the
        interviewer. The interviewer can be called as a witness to testify about any statements made in his/her presence. Please wait and
        speak with your lawyer. Do not ask the interviewer for any advice or opinion concerning your case.
 2.    A COURT-APPOINTED LAWYER IS NOT FREE. If you are convicted or plead guilty or no contest, you may be required to
       repay the cost of your lawyer as a part of your sentence. The Court may also enter a civil judgment against you, which will
       accrue interest at the legal rate set out in G.S. 24-1 from the date of the entry of judgment. Your North Carolina Tax Refund
       or NC Education Lottery winnings may be taken to pay for the cost of your court-appointed lawyer. In addition, if you are
       convicted or plead guilty or no contest, the Court must charge you an attorney appointment fee and may enter this fee as a
       civil judgment against you pursuant to G.S. 7A-455.1.
 3.    The information you provide may be verified, and your signature below will serve as a release permitting the interviewer to contact your
       creditors, employers, family members, and others concerning your eligibility for a court-appointed lawyer. A false or dishonest answer
       concerning your financial status could lead to prosecution for perjury. See G.S. 7A-456(a) ("A false material statement made by a
       person under oath or affirmation in regard to the question of his indigency constitutes a Class felony.").
Under penalty of perjury, declare that the information provided on this form is true and correct to the best of my knowledge, and that am
                                   |                                                                                                                       |




financially unable to employ a lawyer to represent me. now request the Court to assign a lawyer to represent me in this case.
                                                                       |



 |authorize the Court to contact my creditors, employers, or family members, any governmental agencies or any other entities listed below
concerning my eligibility for a court-appointed lawyer.
 |further authorize my creditors, employers, or family members, any governmental agencies or any other entities listed below to release
financial information concerning my eligibility for a court-appointed lawyer upon request of the Court.
Governmental Agencies Or.Other Enlities Authorized To Be Contacted And/Or To Release Information


                                                                                         Date.
     SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME
Date
                                                                                                    5f 2>
                             Signature


                          Assistant CSc                                                  Nanfe Pf App icant: (type or print
 [x] Deputy CSC                              Clerk Of Superior Court        Magistrate
                             Date My Commission Expires
       Notary                                                                            [] Defendant
                             County Where Notarized
          SEAL
                NOTE: /f you are less than 18 years old, or if you are at least 18 years old but remain dependent on and live with a parent or guardian,
                        State name and address of parent, guardian or trustee below.
           Name Of Parent/Guardian Or Trustee


           Adoress                                                                            City, State, Zip




     AOC-CR-226, Side Two, Rev. 2/21, © 2021 Administrative Office of the Courts

                                                                                   0010

                   Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 11 of 27
                                                                                                             mene
 STATE OF NORTH CAROLINA                                                                                                22CR281491

                     WAKE                                                                                        In The General Court Of Justice
                                                      County                                                  x District        Superior Court Division
 NOTE: Do not use this form for cases covered by G.S. 20-138.4. Use form AOC-CR-339 instead.
                               STATE VERSUS
Defendant Name                                                                                            DISMISSAL
KEVIN JAMES SPRUILL                                                                                NOTICE OF REINSTATEMENT
                                                                                         (For Offenses Committed On Or After Dec.1, 2013)
                                                                                                                                      G.S. 15A-302(e), -931, -932
                  File Number                         Count No.(s)                                             Offense(s)
22CR281491                                        I                  OPBFP




       See Additional File Numbers And Offenses on Side Two.
 x DISMISSAL
       NOTE: Recall all outstanding Orders For Arrest in a dismissed case.
       The undersigned prosecutor enters a dismissal to the above charge(s) and assigns the following reasons:
           1.No crime is charged.
       x 2. There is insufficient evidence to warrant prosecution for the following reasons:
              DEFENDANT PAID FOR THE ALLEGED AMOUNT OUT OF HIS OWN BANK ACCOUNT. WHILE VIC'S BANK ACCOUNT
              WAS ALSO CHARGED, THERE IS NO EVIDENCE THIS DEF HAD ANYTHING TO DO WITH THAT.
       []  3. Defendant has agreed to plead guilty to the following charges:




                in exchange for a dismissal of the following charges:




       [] 4. The defendant was charged as the result of
                    TO PROSECUTOR: You must
                                                              defendant's identity being used without permission.
                                                       the Court of this dismissal. The Court should use
                                                                                                                        mistaken identity.
                                                                                                                 Order Of           Under
                (NOTE                                     notify                                                  AOC-CR-283,                 Expunction
                                               G.S. 15A-147(a1) (Identity Theft Or Mistaken Identification) to expunge charges.)
             5. Other: (specify)        See additional information on reverse.




       A jury has not been impaneled nor has evidence been introduced. (if a jury has been impaneled, or if evidence has been introduced, modify
       this sentence accordingly.)

O DISMISSAL WITH LEAVE
       The undersigned prosecutor enters a dismissal with leave to the above charge(s) and assigns the following reasons:
           1. The defendant failed to appear for a criminal proceeding at which the defendant's attendance was required and the prosecutor
              believes that the defendant cannot readily be found.
           2. The defendant has been indicted and cannot readily be found to be served with an Order For Arrest.
       O 3. The defendant has entered into a deferred prosecution agreement with the prosecutor in accordance with the provisions of
              Article 82 of G.S. Chapter 15A.
 NOTE: Pursuant to the repeal of G.S. 15A-1009, the prosecutor can no longer dismiss charges with leave for defendants found incapable to proceed.
 NOTE: This form must be completed and signed by the prosecutor when the dismissal occurs out of court. The better practice is for the prosecutor to
            complete and sign the form when the charges are orally dismissed in open court.
            Also, in accordance with G.S. 15A-931(a1), unless the defendant or the defendant's attorney has been otherwise notified by the prosecutor, a
            written dismissal of the charges against the defendant must be served in the same manner prescribed for motions under G.S. 15A-951. If the
            record reflects that the defendant is in custody, the written dismissal shall also be served by the prosecutor on the chief officer of the custodial
            facility where the defendant is in custody.

                                                                                                                AL < VS"
Date                          Name Of Prosecutor (type or print)                   Signature Of Prosecutor
        08/24/2023            R. MATTHEWS
                                                                                                                ¢
       REINSTATEMENT
       This case, having previously been dismissed with leave as indicated above, is now reinstated for trial.
Date                          Name Of Prosecutor (type or print)                   Signature Of Prosecutor


                                                                               (Over)
  AOC-CR-307B. Rev. 3/21. © 2021 Administrative Office of the Courts 0011

                  Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 12 of 27
                                                 ADDITIONAL FILE NUMBERS AND OFFENSES
               File Number                       Count No.(s)                                    Offense(s)




                                         ADDITIONAL INFORMATION PERTAINING TO DISMISSAL
The undersigned prosecutor provides the following additional information pertaining to the dismissal entered in this case:




Date                       Name Of Prosecutor (type or print)          Signature Of Prosecutor




  AOC-CR-307B, Side Two, Rev. 3/21
  © 2021 Administrative Office of the Courts                    0012

               Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 13 of 27
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         File-No                                                                        Law Enforcement Case No.                               LID No.            SID No               FBI No.
                                                                                                                          22-001335
                                     22CR281491-910
                                                                                        MORRISVILLE POLICE DEPARTMENT
                   WARRANT_EOR ARREST
             THE STATE OF                                               VS.
      Name And Adaress Of Defengant
      Kevin James Spruil                                                                 STATE OF NORTH CAROLINA                                           In The General Court Of Justice
      138 Westover Hill                                                                                                                                           District Court Division
                                                                                                              WAKE
                                                                                                                                          County
                        Car                              NG           27513-2951
              Wake CO           TY                                                                                                OFFENSE(S) (see AOC-CR-100 Continuation(s) for charging text)
                                                                                         Count                                                                                                     Offense in Violation         ~-Offense
                                                                                                                                               Offense                                                   Of G.S.
                                                                                           No.                                                                                                                                     Code
      Race                Sex    :         Date Of Bifth
              B
                                                                       Age
                                                                             34
                                                                                            1
                                                                                                       OBTAIN PROPERTY FALSE PRETENSE                                                                         14-100                2632

      Social Security No./Tax ID No.               Licensé No. & State


      Name Of Defendant's Employer


      Date Of Offense
                                                                             Requires


          6/27/2022              Fingerprinting Per Fingerprint Plan
      Date Of Arrest & Check Digit No. (as shown on fingerprint card)


      Complainant (name, address or department)
      R. Lynch
      MORRISVILLE POLICE DEPARTMENT
      260 Town Hall Drive No C
                  MORRISVILLE                      NC             :   27560
                   WAKE                                       :   :


      Names & Addresses Of Witnesses (including counties & telephone nos.)




       TO ANY OFFICER WITH AUTHORITY AND JURISDICTION TO EXECUTE A WARRANT FOR ARREST FOR THE OFFENSE(S) CHARGED IN THIS WARRANT:
       !, the undersigned, find that there is probable cause to believe that on or about the date of offense shown and in the county named above the defendant named above
       unlawfully, willfully, and feloniously did commit the offense(s) set forth above and on the attached AOC-CR-100 Continuation(s), which is (are) incorporated by reference.
       This act(s) was in violation of the law referred to in this Warrant For Arrest. This Warrant For Arrest is issued upon information furnished under oath by the complainant
       listed. You are DIRECTED to arrest the defendant and bring the defendant before a judicial official without unnecessary 'delay to answer the charge(s) above.

      Date Issued             Name Of Issuing Official                                           Signature                                                 [x] Magistrate   [   Deputy CSC   [] Assistant CSC          Clerk Of Superior Court
          8/29/2022           Christopher Graves                                                                                                              District Court Judge     Superior Court Judge
      Location Of Court                                                                                                    Court Date                                                Court Time


                                                                                          ___WAIVER OF PROBABLE CAUSE HEARING
       The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
      Date Waived             Signature Of Defendant                                                         Name Of Attorney                                                        Signature Of Attomey

                                                                                                                          0013
                                                                                                                                (Gver)
        AOC-CR-100, Rev. 2/21, © 2021 Administrative Office of the Courts                                                                                                                              VRA
                                                       Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 14 of 27
   Ul. APU
                                                                                                                                      File No
                     STATE VERSUS                                                   WAKE
                                                                                                            County                                     22CR281491-910
Name Of Defendant
Kevin James Spruill
Date Of Issuance Of Warrant For Arrest
                                                               NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-100. G.S. 15A-924(a)(5)
                               8/29/2022
                                                                             OFFENSES (continued)
   Count1.        Offense:     OBTAIN PROPERTY FALSE PRETENSE
Charging Text For This Count
 On or about the date o f offense shown andd in the county named above the defendant unlawfully, willfully, and feloniously did knowingly and designedly, with the intent to cheat and
 defraud, obtain US currency in the amount of$105.92 from Danella Smith by means of a false pretense which was calculated to deceive and did deceive. The false pretense
 consisted of the following: used victim's bank account information to purchase items without permission .




   Count 2.       Offense:
Charging Text For This Count




  AOC-CR-100 Continuation, Rev. 2/21                                                  0014
  © 2021 Administrative Office of the Courts                                                                          Continuation Page           of        Continuation Pages
                                           Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 15 of 27
CEDIA LEE.         S bd                   1   PREV!


                                                                                                                                                         File No.
                          STATE VERSUS                                                        WAKE                          County                                        22CR281491-910
   Name Of Defendant
    Kevin James Spruill                                                    If the Warrant For Arrest is not served within one hundred and eighty (180) days, it must be returned to the Clerk of
    Date Of Issuance Of Warrant For Arrest                                 Court in the county in which it was issued with the reason for the failure of service noted thereon.
                                     8/29/2022
                                                                                          RETURN OF SERVICE
     |
         certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
                                                                                                                                               :



    Date Receive                                            Date Sones                               Time Served                                               Date Returned
                                                                     2/9                                            e,

    Be By arresting the defendant and bringing the defendant before:
    Name Of Judicial Official
                                          4
           The Warrant WAS NOT served for the following reason:



    Signature Of Officer Making Retum                                                                      Name Of Officer {type or print,
                                                                                                                                         bet
    Department Or Agéficy Of Officer


                                                                                       REDELIVERY/REISSUANCE
    Date                    Name Of Clerk (type or print)                             Signature Of Clerk
                                                                                                                                                   [Deputy csc []Assistant CSC   o Clerk Of Superior Court
                                                                           RETURN FOLLOWING REDELIVERY/REISSUANCE
     |
         certify that the Warrant For Arrest issued in this case on the date noted above for the defendant named above, was received and served as follows:
    Date Received                                           Date Served                               Time Served                                               Date Returned



            By arresting the defendant and bringing the defendant before:
    Name Of Judicial Official



     {] The Warrant WAS NOT served for the following reason:

    Signature Of Officer Making Return                                                                     Name Of Officer (type or print)


    Department Or Agency Of Officer




         AOC-CR-100 Return, Rev. 2/21                                                               0015
         © 2021 Administrative Office of the Courts
                                                      Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 16 of 27
            SBI FINAL DISPOSITION REPORT                                                                                                                      11-1
           WHEN COMPLETED SUBMIT TO:                 NORTH CAROLINA STATE BUREAU OF INVESTIGATION (SBI)
                                                     3320 GARNER ROAD
                                                     PO BOX 29500
                                                     RALEIGH, N.C. 27626-0500
                                                     ATTN: CRIMINAL INFORMATION
                                                           AND IDENTIFICATION SECTION               CKN Number-

                     TO BE COMPLETED BY ARRESTING AGENCY                                              TO BE COMPLETED BY CLERK'S OFFICE
    SID NO.                                    FBI NO.
                                                                                    COURT LEVEL:                              pisTRICT                       O st
                                                                                    COURT DOCKET NUMBER                           COURT DISPOSITION DATE
    NAME ON FINGERPRINT CARD SUBMITTED TO SBI

SPRUILL, KEVIN JAMES
    LAST                                  FIRST                       MIDDLE            pismissep                                                  DISMISSED wit
    RACE                          DATE OF BIRTH
B                             09/20/1987                                            CHARGE CONVICTED OF:
    SEX                           SOCIAL SECURITY NO.
M ARREST NO.                                                                        CJ CONSOLIDATED FOR JUDGEMENT WITH CASE NO.-
                    (OCA)                     DATE OF ARREST
                                                                                                If this block is checked, a copy of the final disposition reflectin
23020262                                    02/11/2023                                 [Note:
                                                                                                original judgement must be attached.]
    OFFENSES CHARGED AT ARREST
                                                                                    PLEA                                          VERDICT
OBTAIN PROPERTY FALSE PRETENSE
                                                                                    MISDEMEANOR        O                          FELONY

                                                                                    SPLIT SENTENCE:                        Oi ves                    OI No
                                                                                    JUDGEMENT:
                                                                                                                           Days           Months         Years
                                                                                    Active Sentence
                                                                                    Probation
                                                                               j    Suspended
                                                                                    FINE:                                         COST:

    CONTRIBUTOR OF FINGERPRINTS [include Address & ORI No.]                         RESTITUTION:                                  ATTORNEY FEE:
                                                                                       CASE APPEALED FROM DISTRICT COURT
NC0320000
DURHAM CO S.O.                                                                         CASE APPEALED TO APPELLATE DIVISION
DURHAM, NC 27702                                                                       [Submit copy of this form and retain original unti
                                                                                       final judgement after Appellate decision.]

                                                                                    ADDITIONAL INFORMATION:


    CL)   COURT ORDERED EXPUNGEMENT
          [Copy of Certified Court Order Must Be Attached and
          Submitted by Arresting Agency]
                                                                                    DATE                                          COUNTY

                                                                                    SIGNATURE
    SIGNATURE
                                                                                       Deputy csc          Q Assistant CSC             O Clerk of Superior Court
    TITLE                                                DATE
                                                                         0016       If additional space is needed, check            and continue on reverse side   «




                Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 17 of 27
                                                                                                     File No.
 STATE OF NORTH CAROLINA                                                                                                        1491-910

            DURHAM FOR WAKE                                                                          In The General Court Of Justice
                                                        County                                       District         [] Superior Court Division
                                  STATE VERSUS
Name And Address Of Defendant
KEVIN JAMES SPRUILL                                                                                  CONDITIONS OF RELEASE
138 WESTOVER HILLS DR.                                                                                AND RELEASE ORDER
CARY, NC 27513
                                                                                                                                                          G.S. Chapter 15A, Art. 25, 26
                                                                                               Process No.                                     Amount Of Bond
                                                                                               #                                               $                 1,500.00
File Numbers And Offenses


22CR281491-9: OBTAIN PROPERTY FALSE PRETENSE




[] See Attachment.
Location Of Court                                                                                                                          Date              Time
 WCIC                                                                                                            Pk] oistict   superior
                                                                                                                                 0900 [Xjam Oem
                                                                                                                                            (95715/2023
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your:   WRITEN PROMISE to appear []UNSECURED BOND in the amount shown above
          CUSTODY RELEASE x SECURED BOND the amount shown above NOTE:
                                                                   n




          HOUSE ARREST with ELECTRONIC MONITORING administered by a ency)                                                            and the SECURED
          BOND above. You may leave your residence for the purpose(s) of      employment _counseling           _] course of study     vocational training           _




     Your release is not authorized.
     The defendant is required to provide (check all that apply)           []
                                                                      fingerprints under G.S 15A-502
     Prior to release the defendant shall provide his/her (check aif that apply)
                                                                                                          Oa DNA sample under G.S. 15A-266.3A.
                                                                                                       DNA sample.
                                                                                     fingerprints.
                         been     []} (i) charged with a felony while on probation (complete AOC-CR-272, Side One)      (ii) arrested for violation of probation
     with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
 CL] This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
     Order dated
     The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest
     The defendant was arrested or surrendered after failing to appear as required under a prior release order.
     This was the defendant's second or subsequent failure to appear in this case.
     Your release is subject to the conditions as shown on the attached         (]AOC-CR-242, [-]AOC-CR-270. [_]AOC-CR-630. []AOC-CR-631.
                                                                                []Aoc-cr-660.         Other:            []
Additional information




Date                 Namp7Of Judicial Offcial                          Signature Of Judi.     Official                         x Magistrate        Deputy CSC       Cl
                                                                                                                                                                  Assistant CSC
 02/11/2023                                                                                                                       Clerk Of Superior Court LC DC Judge        SC Judge
                                                                        ORDEROF COMMITMENT
 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 []hold him/her []as provided on the attached AOC-CR-272.                    for the following purpose:

       [for charges covered by G.S. 15A-534.1 (domestic violence) or 15A-534. 7 (threat of mass violence)] produce him/her at the first session of District or Superior Court held in
       this county after the entry of this Order or, if no session is held before (enter date and time 48 hours after time of arrest)

Name Of Detention Facility                              Date                    Name Of       icia    Official                            Signature Of Judici Official
DCI                                                        02/11/2023                                                (foS
                                                                                            (Over)
  AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Courts
                                                                                     0017

                Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 18 of 27
                                          WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 | the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.
 | understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If ! am released to the custody of another person, agree to be placed in that person's custody, and that person agrees by
                                                                                  |



 his/her signature to supervise me.
Date                     Signature Of Defendant                                  Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                      Time                                    Signature Of Custodian
                                                                 [Jam (lpm
                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                           Date                      Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT                                                 :
                                                                                                                                                               :




The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                  DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                         Signature Of Custodian




 NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
  AOC-CR-200, Side Two, Rev. 2/21
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                                                                            0018

                  Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 19 of 27
                                                                                                  File No
 STATE OF NORTH CAROLINA                                                                                          ZACR28 1491-910
           DURHAM FOR WAKE                                                                         In The General Court Of Justice
                                                       County                                    ] District   Superior Court Division
                      STATE VERSUS
KEVINJAMES Of Defendant
KEVIN JAMES SPRUILL                                                                              CONDITIONS OF RELEASE
138 WESTOVER HILLS DR.                                                                            AND RELEASE ORDER
CARY, NC 27513
                                                                                                                                                     G.S. Chapter 15A, Art. 25, 26
                                                                                             Process No.                                 Amount Of Bond
                                                                                             #                                           $                    1,500.00
File Numbers And Offenses


22CR28 1491-9 CoOBTAIN PROPERTY FALSE PRETENSE




[_] See Attachment.
Location Of Court                                                                                                                     Date             Time
 WCIC                                                                                                       x District.   Superior     02/15/2023            0900            (em
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
 If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
 warrant if you violate any condition of release in this Order or in any document incorporated by reference.
 The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
      Your release is authorized upon execution of your:   WRITTEN PROMISE to appear (unsecureD BOND in the amount shown above
          CUSTODY RELEASE                 x
                                       SECURED BOND n the amount shown above (NOTE: Give a copy of this order to any surety who posts bond.)
          HOUSE ARREST with ELECTRONIC MONITORING administered by ency,                                                              and the SECURED
          BOND above. You may leave your residence for the purpose(s) of       mployment          counseling      course of study     vocational training




       Your release is not authorized.
       The defendant is required to provide (check all that apply)                             15A-502           DNA sample under G.S 15A-266.3A
       Prior to release, the defendant shall provide his/her (check aif that apply)   fingerprints.      DNA sample.
  [The      defendant hasbeen          (]
                                       (i) charged with a felony while on probation (complete AOC-CR-272, Side One).                  C
                                                                                                                          {ii) arrested for violation of probation
       with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
  []   This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned casein the
       Order dated
       The defendant is charged with-an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
 C     The deferidant was arrested or surrendered after failing to appear as required under a prior release order.
       This was the defendant's second or subsequent failure to appear in this case.
       Your release is subject to the conditions as shown on the attached               _
                                                                                AOC-CR-242.. []AOC-CR-270. [_]AOC-CR-630. []AOC-CR-631.
                                                                                AOC-CR-660.           Other:       []
Additional information




Date                 Name              Official,                       Signature Of                                          Magistrate       Deputy CSC    Assistant CSC
 02/11/2023              fZ. Af-            [mos                                                                             clerk Of Superior Court Qloc Judge        SC Judge
                                                                        ORDEROF COMMITMENT                                                                                              :




 To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
 released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
 [-]hold him/her {[]as provided on the attached AOC-CR-272.                       []
                                                                             for the following purpose:

       {for charges covered by G.S. 15A-534.1 (domestic violence) or q15A-534.7 (threat of mass violence)1 produce hinvher at the first session of District or Superior Court held in
       this county after the entry of this Order or, if no session is held before (enter date and time 48 hours after time of arrest)
                              produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                              Date                   Name Of                                               Signature        cial    ficial
DCJ                                                        02/11/2023
                                                                                         (Over)
  AOC-CR-200, Rev. 2/21, © 2021 Administrative Office of the Courts
                                                                                      0019
                                             L LT
               Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 20 of 27
                                                                                         Lee
                                                                                                            -
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 | the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.
     ,

 | understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If fam released to the custody of another person, agree to be placed in that person's custody, and that person agrees by
                                                                                  |



 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian
                                                               [Jam Oem
                                                       CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                           Date                      Signature Of Judicial Official




                                                     SUPPLEMENTAL ORDERS FOR COMMITMENT                                                               :



 The defendant is next Ordered produced in Court as follows:
         Date         Time                         Place                       Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                      Time                                       Signature Of Custodian
                H- 2173                                          O15§




                                              DEFENDANT RELEASED FOR COURT APPEARANCE                                           :              :


                          Date                                      Time.                                      Signature Of Custodian




 NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
  AOC-CR-200, Side Two, Rev. 2/21
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                                                                            0020

                  Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 21 of 27
                                                                      POWER OF ATTORNEY
 POWER AMOUNT
                                                   PALMETTO SURETY CORPORATION                                                 PSC 2-1965878
                $2,000.00"**                           75 Port City Landing, Suite 130, Mount Pleasant, SC 29464
 KNOW ALL MEN BY THESE PRESENTS: that PALMETTO SURETY CORPORATION, a corporation duly authorized and existing under the laws of the State of
South Carolina, does constitute and appoint the below named agent its true and lawful Attorney- In Fact for it and in its name, place and stead, to execute, and deliver
                                                                                                -   -




for and on its behalf, as surety, a bail bond only.
Authority of such Attorney-In-Fact is limited to appearance bonds. No authority is provided herein for the execution of surety immigration bonds or to guarantee
alimony payments, fines, wage law claims or other payments of any kind on behalf of below named defendant. The named agent is appointed only to execute the bond:
consistent with the terms of this power of attorney. The agent is not authorized to act as agent for receipt of service of process in any criminal or civil action.
This power is void if altered or erased or used in any combination with other powers of attorney of this company or any other company to obtain the release of the
defendant named below or to satisfy any bond requirement in excess of the stated face amount of this power. This power can only be used once. The obligation of the}
company shall not exceed the sum of
                                                Two Thousand Dollars and Zero Cents*"
and provided this Power-Of-Attorney is filed with the bond and retained as a part of the court records. The said Attorney-In-Fact is hereby authorized to insert in ths
Power-Of-Attorney the name of the person on whose behalf this bond was given.
IN WITNESS WHEREOF, PALMETTO SURETY CORPORATION has caused these presents to be signed by its duly author zed officer, proper for the purpose and]
its corporate seal to be hereunto affixed this                      \


Bond Amount $          500-002                  Appearance Date

Qefendant:                                                                                     Premium $

Court

Cares                                         GIO                                                                         Expires September 30, 2023
Case #                                                                                                               PALMETTO SURETY CORPORATION
Case #

County                          city   CALE GH                    St. NOC

Offense   OAMRS PlORRAY EAt se                                                           Typ


Offense
                                                                                                                                 Chief Executive Officer
             Agent   Cb bene
                                                                               0021

                     Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 22 of 27
r




                                    0022

    Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 23 of 27
                                                                                 CONDITIONS
The conditions of this Bond are that the above named defendant shall appear in the above entitled action(s) whenever required. it is agreed and understood
that this Bond is effective and binding upon the defendant and each surety throughout all stages of the proceedings in the trial divisions of the General Court
of Justice until the entry of judgment in the district court from which no appeal is taken or until the entry of judgment in the superior court, unless terminated
earlier by operation of law or order of the court. If the defendant appears as ordered unti! termination of the Bond, then the bond is to be void, but if the
defendant fails to appear as required, the Court will forfeit the bond pursuant to Part 2 of Article 26 of Chapter 15A of the General Statutes.
Each accommodation bondsman, by. signing on the reverse or on the attached AOC-CR-201A, states: "| have reached the age of 18 years and am a bona
fide resident of North Carolina. Aside from love and affection and release of the above named defendant, have received no consideration for acting as
                                                                                                                           |




surety. own sufficient property over and above all liabilities, homestead and other exemptions allowed me by law to enable me to pay this Bond should it
             1



be ordered forfeited      1   understand that if ! sign this Bond without sufficient property, ] am guilty of a crime."
                                                        ADDITIONAL FILE NUMBERS AND OFFENSES
Additional File Numbers And Offenses




     See Additional File Numbers And Offenses on attached AOC-CR-201A, Side Two, for which appearance is secured by this Bond.
                                                                                  AFFIDAVIT                                                                                             :



NOTE: "Professional bondsmen, surety bondsmen [bail agents}, and runners shall file with the clerk of court having jurisdiction over the principal an affidavit on a form furnished
      by the Administrative Office of the Courts. G.S. §8-71-140(d). Check alt options that apply.
     1.     [have not, nor has anyone for my use, been promised or received any collateral security or premium for executing this Bond
     2..    have been promised a premium in the amount shown below, which ts due on the date shown below
     3.     have received a premium in the amount shown below
     4    bl have been given collateral security by the person named below, of the nature and in the amount shown below
Amount Of Premium Promised                               Date Premium Due                 Amount Of Premium Received

$                SOD                                                                      $           SOD
Name Of Person From Whom Collateral Received             Nature Of Collateral                             Value

HESSICA                   TANIA                           )   NDE TORAH
                                                                                                                                        AFFIX BONDSMAN'S SEAL OR
                                                                                                                                           POWER OF ATTORNEY
                                                                                                                                             CERTIFICATE HERE




                                                     RETURN OF CUSTODIAN OF DETENTION FACILITY
The defendant named on the reverse was released from my custody on the date shown below upon the execution of this Appearance Bond
Date Defendant Released                   Name                (type or print)                 ignature Of Custodian                                   Sheriff          Deputy Sheriff
                                                                                          f an       ¢   FI)                       27
                                                                                                                                                      Othe
NOTES ON CASH BONDS:
(1) To Official Taking The Bond. Use this form for all cash bonds. Complete th s form as follows:
    When Cash Deposited By Defendant Or By Another Person Who Intends For The Cash To Be Used To Satisfy The Defendant's Obligations
    Enter defendant's name, address and telephone number at the top of Side One. Check "Cash Appearance Bond By Defendant." Have defendant sign
    Do no more. No other persons name should appear on this form. Enter your name, sign and enter receipt number under "Complete If Cash Deposited.
    Make receipt out to DEFENDANT, not to any other person.
          When Cash Deposited By Another Person Who Does NOT Intend For The Cash To Be Used To Satisfy The Defendant's Obligations
          Enter defendant's name, address and telephone number at the top of Side One. Check "Surety Appearance Bond Have defendant sign. Enter name
          address and telephone number of person depositing cash under "Accommodation Bondsman." Have that person sign under "Signature Of Surety.
          Complete notarization for that person. Enter your name, sign and enter receipt number under "Complete If Cash Deposited." Make receipt out to person
          depositing the cash.
(2) To Bookkeeper. If case disposed without forfeiture, disburse cash as follows ( 1) If "Cash Appearance Bond By Defendant" checked on Side One,
    disburse to defendant or apply to defendant's obligations if court so orders. (2) If "Surety Appearance Bond" is checked on Side One, disburse only to
    the person(s) named under "Accommadation Bondsman.

(3) Bond By Insurance Company Or Professional Bondsman As Surety Is Same As Cash Except In Child Support. G.S. 15A-531(4) provides that
    an appearance bond executed by an insurance company or a professional bondsman (or a bail agent or runner on behaif of one of those sureties) is
    considered the same as a cash deposit, except in child support contempt proceedings for which only cash may satisfy a cash bond requirement.
    AQC-CR-20, Sida Two, Rev. 2/21
    © 2021 Administrative Office of the Courts
                                                                                    0023

                  Case 1:23-cv-00423-WO-JLW Document 94-6 Filed 04/09/24 Page 24 of 27
                                                                                                                                                      :




                                                                                                                        File No
 STATE OF 'NORTH CAROLINA                                                                                               AACR AS
                                                                                                                     In The General Court Ofj             Jusice
                                                                        County                                                        Superior Cdirt Division
Name And Mail gAddress Of Defendant

                                                                                                                         APPEARANCE BOND
                                                                                                                                          FOR
Telephone No. Of Defendant
                                                                                                                          PRETRIAL REL EAS E
                                                                                                                                                                       G.S. 15A-531, 15A-534, 15A-544.2
        Bond Required


File Numbers And Offenses
                                                               vr               This Bond                          Bond No




    See Additional File Numbers And Offenses on Side Two, for which appearance is secured by this Bond.                                                   j

    Unsecured Appearance Bond                            -
                                                             , the undersigned defendant, acknowledge that my personal representativ 65 and are bound to pay the State of North
                                                                                                                                                                   |



    Carolina the sum shown above, subject to the conditions of this Bond stated on the reverse side.
    Cash Appeararice Bond By Defendant (See notes on reverse side.) , the undersigned defendant, acknowledge that am bound to pay the State of
                                                                                                           -
                                                                                                               |                                                            |



    North Carolina the sum shown above, and hereby deposit the cash identified below as security with the und standing that the deposit will be returned &.
    upon the Court's determination that the conditions of release have been performed, subject to the conditions {of this Bond stated on the reverse side, and
    that it will be available to satisfy my obligations
    Defendant's Property Appearance Bond                                    ,
                                                        the undersigned defendant, acknowledge that am bound to pay the State of North Carolina the sum
                                                                        -
                                                                                                                                      |




    shown above, subject to the conditions of this Bond stated on the reverse side, and as security for said Bond have executed a mortgage or deed of tru.
   -to real or personal property, payable to the State of North Carolina and with power of sale conditioned upon the breach of any condition of this Bond.
    Surety Appearance Bond We, the undersigned, jointly and severally acknowledge that we and our personalirepresentatives are bound to pay the State
                                                 -



    of North Carolina the sum shown above, subject to the conditions of this Bond stated on the reverse side. Anyundersigned professional bondsman, bail
    agent, or runner attests that the AFFIDAVIT on the reverse side is complete and true. If a cash deposit is indicated below, surety(ies) has deposited the
    cash to secure the obligation as surety(les) on this Bond with the understanding that the deposit will be returnad to the surety(ies) upon termination of that
    obligation as provided by iaw, and that it will NOT be available to satisfy defendant's obligations (For cash bdha, see notes on revere side.)
                                                                                                                                                                                                                     :
                                                                                       ACCOMMODATION BONDSMAN                                             f   :


    See attached AOCLCR-201A for additional accommodation bondsmen executing this Bond,
Name And Address Of Accommodation Bondsman                                                                         Name And Address Of Accommodation Bondsman




 Telephone No.                                                                                                     Telephone No.


                                                                                            PROFESSIONAL BONDSMAN
Name Of Bondsman           :
                                                                                                                   Name Of Runner, If Applicable


License No. Of Bandsman                                          Telephone No.                                     License No. Of Runner                           Telephone No.


                                                                                              INSURANCE COMPANY                                                                    :   :
                                                                                                                                                                                            :
                                                                                                                                                                                                :   :

                        Company
                                                       CO                                                                                                                                                        :

           Appointmen                  Of Bail        ent                                                          Licen e No,Of Bail Agent


                                                                                 DEFENDANT AND SURETY SIGNATURES                                                        :
                                                                                                                                                                                                                         }
                                                                                                                                                                                                                         i
 Date Of Execution Of Bord                                       1m?                                               Sighaty/e Of Defphdant (épuired                appearance bonds)

                               :
 Signature Of Surely


  SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME                                                                        SWORN/AFFIRMED *'AND {SUBSCRIBED TO BEFORE ME
 Date                                                Signature                                                     Da


    Magistrate       Deputy csc          Assistant CSC                                 Clerk Of Superior Court                           Deputy CSC          Assistant CSC                 Clerk Of Superior Court
C   Custodian Of Detention Facility [6.S 15A-537(c}}                                                                     ustodian Of Detention Facility (6.8 18A-837(c)]

                                                                                       COMPLETE IF CASH DEPOSITED                                                                                       :

Signature Of Official Aecepting Cash                                                            Name Of Official Accepting Cash (type or print)                                 Receipt No.


 NOTE: If cash deposited, see notes on reverse side.
                                   1




                                                                  (see AOC-CR-238 if release            Original - File
                                                                  after judgment in superlor court)         (Over)                                                                                                   :
   AOC-CR-201, Rev. 21
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                                                                                                        0024

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                                                                               ARREST REPORT
                     Name                                                                                                Date/Time of Arest
                                                                                                                         Mb Date Year
         Durha          County Sheriff Off ce
=9                                                                                                                       02/11/2023              Hrs:     00:47
©=          Taken      Fingerprint Card Check Digit # (CKN)                           Arest Tract                        Resi dence Tract                      Arrest Number



         Name        ast, First, Middle)                                                                    D.OB.                                                            Place     Birth
         spruill, kevin james                                                                        09/30/1987                  35                                         greensboro            Citizenship
                                                                                                      Nb Date Year
         Current Address                                                                                 hn
                                                                                                       Phone                     Occupation                                          Resident ~Unknown
          138 WESTOVER HILLS DR CARY NC 27513                                                                                                                                                   Non-Resident

 ©       Employers Name                                                         'Address                                                                                                  Phone

 a
         Also Known As(Alias Names)                                                                           Hot          Wot          Hair             Eye           Skin Tone     Consumed Drug/Alcohdl
                                                                                                             6'02          230        BLACK                                          [~ Yes [~ Noj~ Unk
 wm      Scars, Verks, Tattos                                                                        Social Security #                                          State Msc # and Type
                                                                                                                                                                 NC
          Nearest Relative Name                                                                  Address                                                                                   hn
                                                                                                                                                                                          Phone
  < spruill, ellan
         If Armed, Type of Weapon                                        OrView              f Criminal Sumons.                    of
         UNARMED                                                               for
 ©       Charge#1                                                    j¥ Fel    Counts DCI Code Offense Jurist ction (If not arresting                            Statute#                         Warr Date
         OBTAIN: PROPERTY                   FALSE                        Msd              26A              agency)                                               14-100.                           Date Year_
         PRETENSE                                                                                           Morrisvitle PD                                                                      06/27/2022
         Charge #                                                    " Fel
                                                                       Msd
                                                                                      s
                                                                                                            agency)
                                                                                                                                                                 Statute#                        War Date
                                                                                                                                                                                                Nb Date Year

 a
 <       Chage#3                                                         Fe           s DCI                 Offense Jurisdiction (If not       resting           Statutes#                       Warr Date
                                                                     " Msd                                  agency )                                                                            Nb Date Year


         WR              Make                                     Style                    Color                      Licilis                            VIN


 =       Vehicle:         1:   [~
                               ~ Left at Scene                 Secured                Unsecure
                                                                                      Name of Othr
                                                                                                           Date/Time//                               Hrs
                          2       Released to other at         request
                          3    [~ Impounded [~ Place of storage                                                                                                Inventory on File?
         Date/Time Confined                      Place Confined                                                                       Committing WVagistrate
                                   Hrs:          DURHAM COUNTY JAIL                                                                   DURHAM COUNTY
                                                         Amt. Bond             Tal Date              Court of                                             City
         Written Promise [~ Unsecured                                                                DURHAM-DISTRICT                                      DURHAM
22   2       Secured     NaBord     Cther
         Assisting Officer Name/lD Number                                 Released By Name/Dept/ID                                                                             Date/Time Released
om                                                                                                                                                                                             Hrs:
Status L-Lost $Stolen R-Recovered        D-Dmaged           Z-Seized                 BBumed         C-Counterfelt/Forged                F-Found
Codes (Check "OJ"QU column if recovered for other jurisdiction)
                                                                                                                                                        Check up to 3 types of activity for each
           DCI       Status      Quantity       Type Measure                         Suspected Type
                                                                                                                                            Possess        Buy        Sde     Mg.     Importi




         Name:                                       Victim                               Address:                                                                             Phone


se

  ©  4



  4

         Arresting Officer Signature/ID) #                         Date/Time           Submitd                      Superv isor Signature
         WIMBERLEY, JAKE A                     JAWBS               Mb Date Year
 2                                                                                                  Hrs:
         Case Status:                       Case Disposition                                                Arestee Signature
         [~ Further Inv                     [~ Cleared By Arrest/No Suplement Nedd
         T Inactive J¥ Closed               [¥ Arrest/No Investigation
                                                 :




         DC!-608-F                                                                                                                                                                                       Rev 3/92



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